                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

Randy Johnson, on behalf of himself
and others similarly situated,

              Plaintiff,
       v.                                       Case No. 1:15-cv-00716-LJM-MJD

Navient Solutions Inc.,
f/k/a Sallie Mae, Inc.

              Defendant.



  PLAINTIFF’S MOTION FOR CLASS CERTIFICATION AND APPOINTMENT OF
      CLASS COUNSEL AND INCORPORATED MEMORANDUM OF LAW




                                        1
                                         Request for Relief

         This straightforward case involves Navient Solutions Inc., f/k/a Sallie Mae, Inc.’s

(“Navient”) practice of continuing to robo-dial the cellular telephones of consumers across the

country after being specifically informed that it was calling the wrong number. That is, Navient

continued to autodial nearly half a million cellular telephone numbers even after notating in its

system that the recipients of its calls advised Navient that it was calling the wrong person.

         Because each of those persons—numbering at least 467,000—has a materially identical

claim under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, class

certification is proper. Accordingly, Randy Johnson respectfully requests that this Court certify

this action as a class action under Rule 23 of the Federal Rules of Civil Procedure, appoint him as

class representative, and appoint his counsel as class counsel.

         Mr. Johnson respectfully requests that this Court certify the following class:

            Each person and entity throughout the United States (1) to whom Navient
            Solutions, Inc. placed one or more telephone calls (2) directed to a number
            assigned to a cellular telephone service, (3) by using an automatic telephone
            dialing system, (4) after the person or entity informed Navient that it was
            calling the wrong telephone number, (5) between May 4, 2011 and March
            7, 2016.

                                   Statement of Relevant Facts

    I.   Navient used an automatic telephone dialing system to place calls to at least 467,000
         unique cellular telephone numbers after it added a wrong number designation to its
         own records for each of the telephone numbers.

         During the relevant class period, Navient1 placed calls to at least 467,000 unique cellular

telephone numbers, by using an automatic telephone dialing system (“ATDS”)—either the “Noble




1
       On October 13, 2014, Sallie Mae, Inc. split into two different entities: Navient and Sallie
Mae. See https://studentaid.ed.gov/sa/about/announcements/sallie-mae (“Sallie Mae, a member of
our federal loan servicer team, completed its transition into two separate companies—Navient and


                                                  2
System,” the “GC dialer,” or the “Interactive Intelligent System,” see Transcript of Patricia

Peterson’s Deposition, attached as Exhibit A, at 17:7-18—after it added a wrong number

designation to its records for each of those telephone numbers. See id. at 143:10-23 (Q. . . . If I’m

understanding the 467,000-person figure that you provided—that NSI provided is an estimate of

the number of people to whom Navient placed a call to a number after Navient’s records for that

number showed a wrong number code by using an automatic telephone dialing system; is that fair?

A. Yes. . . . Q. Were the calls associated with the 467,000 people calls to cell phones only? A.

Yes.).2

          Navient did this despite its understanding that if a person informs one of Navient’s agents

that it reached a wrong number, Navient should stop placing calls to that number. See Ex. A at

54:4-8 (Q. So as I understand it, Navient’s policy is that, if an individual tells an NSI agent that

it’s calling a wrong number, NSI shouldn’t call that number anymore? A. Correct.). What’s more,


Sallie Mae—on Oct. 13, 2014. . . . The new company, Navient, has assumed all the responsibilities
performed by Salle Mae as a federal loan servicer.”), last visited February 29, 2016.
2
         As a result of discovery in this case, Navient identified approximately 467,000 accounts to
which it placed an autodialed call to a cellular telephone after notating in its system that the call
recipient informed Navient it was calling the wrong person. This 467,000 figure includes only
telephone numbers for which Navient included a wrong number designation in its account records
as a result of an outbound call that it made, as opposed to an inbound call it received from a person
to inform it that it was calling the wrong number. See Ex. A at 169:7-10 (“A. So the way the 467—
the approximate 467,000 was created was, we looked at outbound calls where we coded—where
an agent put wrong number in that dialer status.”). Stated otherwise, the 467,000 figure does not
include telephone numbers for which Navient included a wrong number designation in its account
records as a result of an inbound call—a call that a person placed to Navient to inform Navient
that it was calling the wrong person. See id. Since the date of Ms. Peterson’s deposition, however,
Navient has agreed to provide “[t]he number of persons to whom Defendant made calls, directed
to a number that Defendant’s records indicate was assigned to a cellular telephone service, after a
date on which Defendant’s system included a wrong number code for the number called as a result
of an inbound call made through one of Defendant’s dialers, by using an automatic telephone
dialing system or a predictive dialer or an artificial or prerecorded voice, for the period of time
beginning on May 4, 2011 and ending on May 4, 2015.” See Doc. 73 at 2. This means that it is
likely that significantly more than 467,000 accounts will reflect autodialed calls to cell phones
after the entry of a wrong number designation.


                                                   3
Navient acknowledged that a person’s statement that Navient reached a wrong number means that

the person does not want to be called at that number. See id. at 54:4-24 (Q. So as I understand it,

Navient’s policy is that, if an individual tells an NSI agent that it’s calling a wrong number, NSI

shouldn’t call that number anymore? A. Correct. Q. Why? . . . THE WITNESS: Because the person

on that call said the number doesn’t belong to the person they’re trying to reach. BY MR. RADBIL:

Q. And because the person said the number doesn’t belong to the person they’re trying to reach,

they simply don’t want to be called anymore? A. They—yes.).

    II.   Navient repeatedly placed calls to Mr. Johnson’s cellular telephone number after he
          informed Navient it was calling the wrong number, and after Navient included a
          wrong number designation in its own records for his cellular telephone number.

          In September 2014, Navient began placing calls to Mr. Johnson’s cellular telephone

number by using an ATDS. See NSI0007385-86, attached as Exhibit B; NSI0007387-88, attached

Exhibit C; NSI 0007390-91, attached as Exhibit D.3 Shortly thereafter, Mr. Johnson called Navient

and notified one of its agents that his telephone number did not belong to the person that Navient

intended to reach—a woman named Marie Bottoms. During this conversation Navient agreed to

remove Mr. Johnson’s cellular telephone number from its system.4 However, Navient’s calls

continued.

          Subsequently, Mr. Johnson called Navient and informed one of its agents that Navient

continued to place calls to his telephone number despite his previous requests that Navient not do

so. During this conversation Navient not only agreed to remove Mr. Johnson’s cellular telephone




3
       While these documents were marked “confidential” when produced, Navient has agreed to
de-designate the documents for purposes of this filing, with Mr. Johnson’s cellular phone number
redacted in part.
4
       Consistent with its policy, Navient recorded this conversation with Mr. Johnson. Should
this Court desire to listen to the recording, Mr. Johnson will submit it under seal.


                                                4
number from its system, but also assured Mr. Johnson that he would not receive any more calls

from Navient.5

       In line with Mr. Johnson’s conversations with Navient, Navient included a wrong number

designation in its account records for Mr. Johnson’s cellular telephone number on three separate

occasions. See Ex. B (“9/11/2014 . . . Inbound . . . Wrong #[;] . . . 10/21/2014 . . . Inbound . . .

Wrong #[;] . . . 12/4/2014 . . . Inbound . . . Wrong #”); Ex. D (“9/1/2014 WN”).

       No matter, Navient repeatedly placed calls to Mr. Johnson’s cellular telephone number, by

using an ATDS, after Mr. Johnson informed Navient that it was calling the wrong number (and

after the date on which Navient’s own records included a wrong number designation for his

telephone number). See Ex. A at 171:14-19 (Q. You would agree with me that Mr. Johnson

received a call by an autodialer from NSI on his cell phone after a wrong number code was entered

in the system for his cellular telephone number, right? A. Yes.); id. at 32:4-23 (noting that Navient

made and received the calls listed at rows two through five, eleven through eighteen, and sixty-six

through sixty-seven of Exhibit B—all but two of which occurred after Navient first included a

wrong number designation in its account records for Mr. Johnson’s cellular telephone number);

id. at 127:2-5 (confirming that the calls listed on Exhibit C are different from the calls listed on

Exhibit B); id. at 127:23-25; 128:1 (explaining that Navient made each of the fifty outgoing calls

to Mr. Johnson’s cellular telephone number listed on Exhibit D—all of which Navient placed after

it first included a wrong number designation in its account records for Mr. Johnson’s cellular

telephone number).




5
        Navient also recorded this conversation with Mr. Johnson. Should this Court desire to listen
to the recording, Mr. Johnson will submit it under seal as well.


                                                 5
       And Navient did so despite that Mr. Johnson never had a business relationship with it. See

Ex. A at 34:7-13 (Q. . . . Does NSI have any relationship with Randy Johnson who is the plaintiff

in this lawsuit? A. No. Q. Did NSI ever have any relationship with Randy Johnson, the plaintiff in

this lawsuit? A. Not that I’m aware of.); accord Ex. B (recording of conversation during which

Mr. Johnson states that he never went to college, let alone took out a loan to attend college).6

       Moreover, at no point did Navient ever obtain, or even attempt to obtain, permission from

Mr. Johnson to place calls to his cellular telephone number by using and ATDS. See id. at 34:17-

25; 35:1 (Q. Did Navient ever obtain Mr. Johnson’s consent to use 317.***.2476? A. Navient

Solutions? Q. Yes. A. No. Q. Did Navient solutions ever attempt to obtain Mr. Johnson’s consent

to make autodialed predictive outcalls or artificial voice calls to 317.***.2476? A. No, not that I

know of.).

       In fact, Navient conceded that it never even intended to reach Mr. Johnson when placing

calls to his cellular telephone number. See id. at 38:1-7 (Q. Okay. Who was NSI attempting to

reach when it made the calls to [Mr. Johnson’s cell phone number]? A. Marie Bottoms. Q. Was it

ever attempting to reach anyone other than Marie Bottoms when making calls to [Mr. Johnson’s

cell phone number]? A. No.).

III.   Navient obtained Mr. Johnson’s cellular telephone number from a third party.

       It appears that Navient obtained Mr. Johnson’s telephone number during an April 18, 2014

conversation with Marie Bottoms. Specifically, early in the more than nine-minute conversation

between Navient and Ms. Bottoms, Navient confirmed Ms. Bottom’s telephone number as (317)



6
        Navient is the nation’s leading loan management, servicing and asset recovery company,
servicing more than $300 billion in student loans. See Navient Solutions Inc., Annual Report (Form
10-K), at 4 (Feb. 25, 2016)
See https://investor.shareholder.com/navi/secfiling.cfm?filingID=1193125-16-478393&CIK=
159538 (last visited March 7, 2016).


                                                 6
***-7570—a number different than Mr. Johnson’s cellular telephone number. Near the end of the

conversation Navient asked Ms. Bottoms if it could use the number on which she called Navient:

“NAVIENT: . . . And we have your phone number, did you want to add an alternative number to

the account. MS. BOTTOMS: Um, you can take this one. NAVIENT: Okay, what is this one? MS.

BOTTOMS: I really don’t know it, I’m just calling on it. NAVIENT: It’s the one that we have, the

one that you’re calling from, okay, its (317) ***-2476.”7

       Notably, after this conversation between Navient and Ms. Bottoms, Navient did nothing to

confirm that Mr. Johnson’s cellular telephone number was a telephone number that belonged to

Ms. Bottoms. See Ex. A at 69:18-22 (Q. . . . After that conversation between Ms. Bottoms and

NSI, did NSI do anything to confirm that 317.***.2476 was, in fact, a number that belonged to

Ms. Bottoms? A. No.).

       Also worth mentioning, Ms. Bottoms used Mr. Johnson’s cellular telephone number to call

Navient (unbeknownst to Mr. Johnson) while she stayed with Mr. Johnson for a few weeks to

avoid her abusive ex-husband. See Transcript of Randy Johnson’s Deposition, attached as Exhibit

E, at 22:14-21 (“She just really needed a place to – a place of refuge.”). And although Mr. Johnson

allowed Ms. Bottoms to use his cellular telephone on occasion, he neither knew that Ms. Bottoms

used his cellular telephone to call Navient, nor was he even aware that Ms. Bottoms owed money

toward a student loan debt, until he started to receive calls from Navient looking for Ms. Bottoms.

See Ex. E at 24:14-17 (Q Do you have an understanding that Ms. Bottoms has outstanding student

loans? A I didn’t know it until I started getting calls from Navient/Sallie Mae.).




7
        Navient recorded this conversation with Ms. Bottoms. Should this Court desire to listen to
the recording, Mr. Johnson will submit it under seal.


                                                 7
       Notwithstanding, that Navient apparently captured Mr. Johnson’s cellular telephone

number from a caller identification device and then asked Ms. Bottoms if it could reach her at Mr.

Johnson’s number, cannot change the fact that Navient repeatedly placed calls to Mr. Johnson’s

cellular telephone number, by using an ATDS, after Mr. Johnson specifically informed Navient

that it was calling the wrong number and directed Navient not to do so on more than one occasion

(as reflected not just in Navient’s own records, but in the recordings of its conversations with Mr.

Johnson). Indeed, and like all other members of the proposed class, Navient continued calling Mr.

Johnson after being specifically informed that it was calling the wrong number.8

                                            Standard

       To certify his proposed class, Mr. Johnson must satisfy each of the four requirements of

Rule 23(a), referred to as numerosity, commonality, typicality, and adequacy of representation, as

well as one of the requirements of Rule 23(b). Chicago Teachers Union, Local No. 1 v. Board of

Educ. of City of Chicago, 797 F.3d 426, 433 (7th Cir. 2015);9 Johnson v. Yahoo!, Inc., Nos. 14 CV

2028, 14 CV 2753, 2016 WL 25711, at *1 (N.D. Ill. Jan. 4, 2016) (certifying TCPA class action);

Chapman v. Bowman, Heintz, Boscia & Vician, P.C., No. 15-120, 2015 WL 9478548, at *1-2



8
        That Navient made calls to Mr. Johnson’s cellular telephone number—as well as at least
467,000 other unique cellular telephone numbers—by using an ATDS, after its own records
included a wrong number designation for his cellular telephone number, is likely the result of the
manner in which Navient’s systems function. In particular, Navient’s inclusion of a wrong number
designation in one of its dialer systems for a particular telephone number simply stops Navient
from placing calls to that telephone number for the day on which the designation is entered. It does
not prevent Navient from using an ATDS to make calls to the number at issue for any day following
the day on which the wrong number designation is entered. See Ex. A at 44:17-25; 45:1-6 (Q. . .
.When you say wrong number code is put on the dialer, is that what happened here, this wrong
number code was put on the dialer? A. Yes. Q. And the wrong number code put on the dialer stops
calls for that day? A. Yes. Q. Does it do anything except stop calls for that day? A. When put on
the dialer, no. Q. So the calls would continue the next day despite the wrong number code being
entered on the system? A. Unless they also updated the system of record as a wrong number.).
9
       Internal quotations and citations are omitted and emphasis is added, unless otherwise noted.


                                                 8
(N.D. Ind. Dec. 29, 2015) (certifying class action).

       In reviewing a motion for class certification, the court “must make whatever factual and

legal inquiries necessary to ensure that requirements for class certification are satisfied before

deciding whether a class should be certified, even if those considerations overlap the merits of the

case.” Szabo v. Bridgeport Machs., Inc., 249 F.3d 672, 676 (7th Cir. 2001). The court’s decision

whether to certify a class, however, is not to be based on a preliminary assessment of the ultimate

merits of the plaintiff’s claims. Rahim v. Sheahan, No. 99 C 0395, 2001 WL 1263493, at *10 (N.D.

Ill. Oct. 19, 2001); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177, 94 S.Ct. 2140, 40

L.Ed.2d 732 (1974) (“nothing in either the language or the history of Rule 23 . . . gives a court any

authority to conduct a preliminary inquiry into the merits of a suit in order to determine whether it

may be maintained as a class action”). Rather, the necessary preliminary inquiry is into the merits

of any allegations that bear on the suitability of a case under Rule 23(a) and (b). Sanchez v. Roka

Akor Chicago LLC, No. 14-cv-4645, 2016 WL 74668, at *2 (N.D Ill. Jan. 7, 2016).

       So while the district court’s class certification analysis may entail some overlap with the

merits of the plaintiff’s underlying claim, Rule 23 grants courts no license to engage in free-ranging

merits inquiries at the certification stage. See Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133

S.Ct. 1184, 1194 (2013). Nonetheless, in the end, the court has “broad discretion to determine

whether certification of a class-action lawsuit is appropriate.” Ervin v. OS Restaurant Servs., Inc.,

632 F.3d 971, 976 (7th Cir. 2011).

  I.   Mr. Johnson’s claims are well-suited for class action treatment.

       The TCPA makes it unlawful to place any telephone call, other than for emergency

purposes or with the prior express consent of the called party, using an ATDS, to any telephone

number assigned to, inter alia, a cellular telephone service. 47 U.S.C. § 227(b)(1)(A)(iii). As Judge




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Easterbrook wrote: “Class certification is normal in litigation under [the TCPA], because the main

questions . . . are common to all recipients.” Ira Holtzman, C.P.A., & Assocs. v. Turza, 728 F.3d

682, 684 (7th Cir. 2013).

       This is especially true in cases, like here, where courts do not have to inquire as to whether

each putative class member may be subject to an independent consent defense. See, e.g., Abdeljalil

v. Gen. Elec. Capital Corp., 306 F.R.D. 303, 312 (S.D. Cal. 2015) (certifying TCPA class action);

Birchmeier v. Caribbean Cruise Line, Inc., 302 F.R.D. 240, 245 (N.D. Ill. 2014) (same); Manno

v. Healthcare Revenue Recovery Grp., LLC, 289 F.R.D. 674, 685 (S.D. Fla. 2013) (same). Indeed,

to be a member of Mr. Johnson’s proposed class, a person need only have received an autodialed

call on his or her cellular telephone from Navient after informing Navient that it was calling the

wrong person.

 II.   Mr. Johnson satisfies the requirements of Rule 23(a).

    A. Mr. Johnson’s proposed class is so numerous that joinder of all members is
       impracticable.

       Rule 23(a) requires that a class must be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). “Impracticability does not mean impossibility, but instead

requires plaintiffs to prove that it would be inconvenient and difficult to join all proposed members

of the class.” Ellis v. Elgin Riverboat Resort, 217 F.R.D. 415, 421 (N.D. Ill. 2003) (quoting

Bethards v. Bard Access Sys., Inc., No. 07 C 3659, 1995 WL 75356, at *3 (N.D. Ill. 1995)).

       Accordingly, a plaintiff is not required to specify the exact number of persons in the class

to satisfy the numerosity prerequisite. See Marcial v. Coronet Ins. Co., 880 F.2d 954, 957 (7th Cir.

1989) (citing Vergara v. Hampton, 581 F.2d 1281, 1284 (7th Cir. 1978)).

       Here, discovery shows that Navient placed calls to at least 467,000 unique cellular

telephone numbers, by using an ATDS, after its own records included a wrong number designation



                                                 10
for each of the telephone numbers. See Ex. A at 143:10-23. Therefore, as Mr. Johnson’s proposed

class amounts to at least 467,000 persons (and likely more), it is so numerous that joinder is

impracticable. See Johnson, 2016 WL 25711, at *3 (finding numerosity satisfied where the class

could contain more than 500,000 persons); Shepherd v. ASI, Ltd., 295 F.R.D. 289, 296-97 (S.D.

Ind. 2013) (finding numerosity satisfied where the class was estimated to be 273 persons); Ind.

Prot. and Advocacy Servs. Comm’n v. Comm’r, Ind. Dept. of Corr., No. 1:08–cv–01317–RLY–

JMS, 2010 WL 1737821, at *1 (S.D. Ind. Apr. 27, 2010) (finding numerosity satisfied where the

class was estimated to be in the “hundreds”); Dubinski v. Sentry Ins. A Mut. Co., No. 1:14–cv–

00551–TWP–DKL, 2015 WL 540523, at *2 (finding numerosity satisfied where the class was

made up of over 1,200 persons).

       Indeed, Navient does not contest the element of numerosity for purposes of this matter. See

Navient’s Response to Mr. Johnson’s Interrogatory No. 14, attached as Exhibit F (“Further, for

purposes of this action only, NSI does not contest the element of numerosity under Rule 23 of the

Federal Rules of Civil Procedure.”). Mr. Johnson therefore satisfies the numerosity element of

Rule 23.

   B. Questions of law and fact are common to all members of the proposed class.

       Rule 23(a)(2) requires the existence of common questions of law or fact. A common

question is one such that “determination of its truth or falsity will resolve an issue that is central

to the validity of each one of the claims in one stroke.” Mullins v. Direct Digital, LLC, 795 F.3d

654, 673 (7th Cir. 2015).

       “The test for commonality is not demanding.” Lightbourn v. County of El Paso, Texas, 118

F.3d 421, 426 (5th Cir.1997), cert. denied, 522 U.S. 1052 (1998). To satisfy the commonality

element, it is enough for a plaintiff to present just one common claim. Wal-Mart Stores, Inc. v.




                                                 11
Dukes, 131 S. Ct. 2541, 2556 (2011). A class action is appropriate in situations where the “issues

involved are common to the class as a whole” and when they “turn on questions of law applicable

in the same manner to each member of the class.” Califano v. Yamasaki, 99 S.Ct. 2545, 2257

(1979). Litigating such cases as a class, as opposed to individually, saves the resources of the

courts and the parties by deciding similar issues that affect all class members. Id.

       While “[c]lass certification cannot be defeated simply because there are some factual

variances among the proposed members,” Chapman, 2015 WL 9478548, at *3, the questions of

fact and law at issue here are entirely common. Specifically, the claims asserted by Mr. Johnson

and the members of his proposed class all originate from the same conduct on the part of Navient—

namely, its use of an ATDS to place calls to telephone numbers after being informed that the

numbers to which it placed the calls were wrong numbers.

       Thus, if brought and prosecuted individually, the claims of each member of Mr. Johnson’s

proposed class would require proof of the same material and substantive facts, including Navient’s

actions and whether the systems it uses to place calls constitute an ATDS as defined by the TCPA.

See Abdeljalil, 306 F.R.D. at 309 (finding commonality element satisfied where the defendant

called third parties on their cellular telephones via an ATDS and/or prerecorded voice without

prior express consent after the defendant was on notice that it was calling a third party); Johnson,

2016 WL 25711, at *3 (“Defendant does not argue that numerosity or commonality is missing.

And plaintiffs make a sufficient showing that both are met—the proposed class could contain more

than 500,000 members, for whom common questions would include, among others, whether the

PC2SMS platform constitutes an ‘automatic telephone dialing system.’ These two factors under

Rule 23(a) are therefore satisfied.”).




                                                 12
       Moreover, Navient testified that a wrong number designation in its records evidences that

the person at the number in question did not want to be called. See Ex. A at 54:4-24. Thus, whether

informing Navient that it was calling the wrong number demonstrates a lack of consent to make a

future autodialed calls to respective cellular telephone numbers is also a question of law common

to all members of Mr. Johnson’s proposed class. See Manno, 289 F.R.D. at 686 (“Whether the

provision of a phone number on admissions paperwork equates to express consent is a question

common to all class members, because all class members filled out paperwork at the time of

treatment. On this defense, all class members will prevail or lose together, making this another

common issue to the class.”).

       As well, there is a common injury among the members of Mr. Johnson’s proposed class

resulting from receipt of the violative telephone calls at issue. Birchmeier, 302 F.R.D. at 251

(“Those who are members of one of the proposed classes by definition received the same calls . .

. made by or for one of the defendants, using the same artificial or prerecorded voice technology.

This is a common alleged injury presenting a common question. . . . Here there is a common injury,

resulting from receipt of the allegedly offending calls[.]”). As a result, Mr. Johnson satisfies the

commonality element of Rule 23.

   C. Mr. Johnson’s claims are typical of the claims of the members of his proposed class.

       Rule 23(a)(3) requires that “the claims or defenses of the representative parties be typical

of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The typicality requirement

addresses the separate concerns that (1) the representative’s claim may fail on unique grounds,

dooming meritorious claims of absent class members; or (2) the representative’s claims may

prevail on unique grounds, and the representative may therefore fail to adequately present

alternative grounds under which the unnamed class members could prevail on their own claims.




                                                13
See CE Design Ltd. v. King Architectural Metals, Inc., 637 F.3d 721, 724 (7th Cir. 2011). An

individual’s claim “is typical if it arises from the same event or practice or course of conduct that

gives rise to the claims of the other class members and his or her claims are based on the same

legal theory.” Keele v. Wexler, 149 F.3d 589, 595 (7th Cir. 1998) (quoting De La Fuente v. Stokely-

Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983)).

       Here, Mr. Johnson and members of his proposed class suffered from a common practice

employed by Navient—its use of an ATDS to call cellular telephones after being specifically

informed that those cellular telephone numbers were wrong numbers. As set forth above, Mr.

Johnson unquestionably is a member of his proposed class, as Navient concedes. See Ex. A at

171:14-19 (Q. … You would agree with me that Mr. Johnson received a call by an autodialer from

NSI on his cell phone after a wrong number code was entered in the system for his cellular

telephone number, right? A. Yes.).

       Thus, Mr. Johnson’s claims are typical of those of the members of the proposed class that

he seeks to represent. See, e.g., Johnson, 2016 WL 25711, at *6 (finding typicality was satisfied

in class action under TCPA over autodialed phone calls to cellular telephones); Abdeljalil, 306

F.R.D. at 309 (same); Birchmeier, 302 F.R.D. at 251 (same); Manno, 289 F.R.D. at 686-87 (same).

   D. Mr. Johnson, and his counsel, will fairly and adequately protect the interests of the
      members of his proposed class.

       Rule 23(a)(4) requires that the representative plaintiff fairly and adequately protect the

interests of the class. “This adequate representation inquiry consists of two parts: (1) the adequacy

of the named plaintiffs as representatives of the proposed class’ myriad members, with their

differing and separate interests, and (2) the adequacy of the proposed class counsel.” Gomez v. St.

Vincent Health, Inc., 649 F.3d 583, 592 (7th Cir. 2011).




                                                 14
       Here, Mr. Johnson is firmly committed to this case and will fairly and adequately protect

class members’ interests in this matter, as he has done to date. See Ex. E at 24:2-6, 25:19-23.

Indeed, Mr. Johnson has been an active participant in this case who has read all pertinent filings,

conducted independent research, and sat for a deposition. Id. at 25:19-25, 26:1-21 (Q Have you

read any of the pleadings related to this case? A Yes, I have. I have read up on the Telephone

Consumer Protection Act that was enacted by Congress in 1991. Q Okay. What else? A I’ve read

Navient’s motion to stay this case, which was denied by the judge. I’ve read the original complaint

filled out by these gentlemen. And I’ve read the expert report from the outside counsel that they

hired to collect data, I think, on the number of calls, not just from me, but other people in the

country. I’ve read pretty much everything that’s been available for me to read.).

       As well, Mr. Johnson has retained counsel experienced and competent in class action

litigation, including class action litigation under the TCPA. See, e.g., Prater v. Medicredit, Inc.,

No. 4:14-cv-00159-ERW, 2015 WL 8331602, at *2 (E.D. Mo. Dec. 7, 2015); Jones v. I.Q. Data

Int’l, Inc., Case No. 1:14-cv-00130-PJK-RHS, 2015 WL 5704016, at *2 (D.N.M. Sept. 23, 2015);

Ritchie v. Van Ru Credit Corp., No. 2:12–CV–01714–PHX–SM, 2014 WL 3955268, at *2 (D.

Ariz. Aug. 13, 2014).10 Mr. Johnson’s counsel will vigorously pursue this matter—as it has to




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       Greenwald Davidson Radbil PLLC has been appointed class counsel in more than a dozen
consumer protection class actions in the past two years. See, e.g., Roundtree v. Bush Ross, P.A.,
No. 14-357, 2016 WL 360721, at *2 (M.D. Fla. Jan. 28, 2016); Schuchardt v. Law Office of Rory
W. Clark, No. 15-01329, 2016 WL 232435, at *6 (N.D. Cal. Jan. 20, 2016); Kemper v. Andreu,
Palma & Andreu, PL, No. 15-21226, Doc. 36 (S.D. Fla. Jan. 11, 2016); Whitford v. Weber &
Olcese, P.L.C., No. 15-400, 2016 WL 122393 (W.D. Mich. Jan. 11, 2016); Chapman, 2015 WL
9478548, at *4 (DeGuilio, J.); Garza v. Mitchell Rubenstein & Assocs., P.C., No. 15-1572, 2015
WL 9594286, at *1 (D. Md. Dec. 28, 2015); Baldwin v. Glasser & Glasser, P.L.C., No. 15-00490,
2015 WL 7769207, at *1 (E.D. Va. Dec. 1, 2015); McWilliams v. Advanced Recovery Sys., Inc.,
310 F.R.D. 337, 340 (S.D. Miss. 2015); Oaks v. Parker L. Moss, P.C., No. 3:15-CV-00196-CAN,
2015 WL 5737595, at *1 (N.D. Ind. Sept. 29, 2015); Gonzalez v. Dynamic Recovery Solutions,
LLC, Nos. 14-24502, 14-20933, 2015 WL 738329, at *2 (S.D. Fla. Feb. 23, 2015).


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date—and will assert, protect, and otherwise represent the members of Mr. Johnson’s proposed

class. As a result, Mr. Johnson satisfies Rule 23(a)(4) and 23(g).

III.   Mr. Johnson satisfies the requirements of Rule 23(b).

   A. The questions of law and fact common to the members of Mr. Johnson’s proposed
      class predominate over any questions affecting only individual class members.

       “Rule 23(b)(3) permits class certification only if the questions of law or fact common to

class members ‘predominate’ over questions that are individual to members of the class.” Messner

v. Northshore Univ. HealthSystem, 669 F.3d 802, 814-15 (7th Cir. 2012). “There is no

mathematical or mechanical test for evaluating predominance.” Id. (citing 7AA Wright & Miller,

Federal Practice & Procedure § 1778 (3d ed. 2011)). The Supreme Court has explained that the

Rule 23(b)(3) “inquiry trains on the legal or factual questions that qualify each class member’s

case as a genuine controversy,” with the purpose being to determine whether a proposed class is

“sufficiently cohesive to warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor,

117 S.Ct. 2231, 2236 (1997).

       Here, the principal legal issue before this Court is whether Navient’s automated calls to the

members of Mr. Johnson’s proposed class violated the TCPA. Significantly, Navient admits that

it called hundreds of thousands of unique cellular telephone numbers using an ATDS even though

recipients of the calls previously informed Navient that it was calling the wrong number. See Ex.

A at 143:10-17. Navient also admits that if an individual tells one if its agents that Navient is

calling the wrong number, Navient should not call that number again. See id. at 54:4-24. And

Navient further concedes that a person’s statement that Navient reached a wrong number means

that the person does not want to be called at that number. See id.

       Given, therefore, Navient’s acknowledgement that a person who informs it that it is calling

the wrong number no longer consents to be called by Navient, there are no individualized issues



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that will predominate over issues common to the members of Mr. Johnson’s proposed class.11 See

Meyer v. Portfolio Recovery Assocs., LLC., 707 F.3d 1036, 1042 (9th Cir. 2012) (affirming grant

of provisional certification of TCPA class and finding that, given the record, “it was reasonable

for the district court to find that cellular telephone numbers obtained via skip-tracing [from a third

party] had not been given to the creditors in the course of the underlying consumer transactions.”);

Balbarin v. North Star, No. 10 C 1846, 2011 WL 211013, at *1 (N.D. Ill. Jan. 21, 2011) (denying

motion for reconsideration on class certification because the court “tailored the class so that it

would capture those individuals whose numbers were obtained through defendant’s routine use of

third party information providers, but exclude[d] individuals who provided their numbers to either

defendant or the original debtor. The possibility that some putative class members might ultimately

be found to be outside the class does not preclude class certification.”); Manno, 289 F.R.D. at 689

(“Common questions of law and fact predominate here because, as explained above, any persons

who may have been subject to an individualized consent defense were excluded during numerosity

discovery.”).

       As a result, Mr. Johnson satisfies the predominance element of Rule 23. See Johnson, 2016

WL 25711, at *6-8 (finding that plaintiffs demonstrated that common issues would predominate

in proposed TCPA class); Birchmeier, 302 F.R.D. at 253-54 (same).




11
        As an aside, Navient tracks, historically, the dates on which it had consent to place calls,
by using an ATDS, to telephone numbers included in is system, and the dates on which it did not
have consent to do so. See Ex. A at 154:23-25, 155:4-21 (Q. Does NSI keep track of changes to
consent to call by autodialer for specific numbers? A. Yes. . . . Q. So if I asked you for a given
number, the dates that Navient had consent and didn’t have consent for, let’s say the period of the
past five years, it could tell me, assuming there were changes, NSI had consent for this period of
time and didn’t have consent for a different period of time? A. Assuming we were tracking it that
full time, yes. Q. Yes. But the way the system functions is when consent changes, old consent
notations aren’t simply deleted. Navient is able to go back and say consent existed for a period of
time and didn't exist for a period of time, assuming that’s the case? A. Yes.).


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   B. A class action is superior to other available methods for the fair and efficient
      adjudication of this matter.

       Rule 23(b)(3) also requires that a district court determine that “a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.” In determining

whether the “superiority” requirement is satisfied, a court may consider the following: (1) the

interest of members of the class in individually controlling the prosecution or defense of separate

actions; (2) the extent and nature of any litigation concerning the controversy already commenced

by or against members of the class; (3) the desirability or undesirability of concentrating the

litigation of the claims in the particular forum; and (4) the difficulties likely to be encountered in

the management of a class action. Fed. R. Civ. P. 23(b)(3).

       Proceeding with TCPA claims as a class generally is superior to the litigation of the same

issues in successive individual lawsuits. See, e.g., Reliable Money Order, Inc. v. McKnight Sales

Co., 281 F.R.D. 327, 339 (E.D. Wis. 2012) (citing Green v. Serv. Master On Location Servs. Corp.,

No. 07 C 4705, 2009 WL 1810769, at *3 (N.D. Ill. 2009); Hinman v. M & M Rental Cntr., Inc.,

545 F. Supp. 2d 802, 807 (N.D. Ill. 2008)). To be sure, the resolution of TCPA claims “on a

classwide basis, rather than thousands (or zero) individual lawsuits is an efficient use of judicial

resources.” Green, 2009 WL 1810769, at *3. Indeed, resolving TCPA claims in a class action

entails not only an efficient use of judicial resources, but also of party resources. Hinman, 545 F.

Supp. 2d at 807. It allows for the resolution of claims that otherwise might never be brought

because of their relatively small individual value. Id.

       Here, no one member of the class that Mr. Johnson seeks to represent has an interest in

controlling the prosecution of the action because the claims of all members of Mr. Johnson’s

proposed class are identical, as the allegations involve standardized conduct. Moreover,

alternatives to a class action are either no recourse for hundreds of thousands of class members, or



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a multiplicity of suits resulting in inefficient administration of justice. See Mullins, 795 F.3d 654

at 658 (“A court must consider ‘the likely difficulties in managing a class action,’ but in doing so

it must balance countervailing interests to decide whether a class action ‘is superior to other

available methods for fairly and efficiently adjudicating the controversy.’”). In fact, absent a class

action, a great many claims identical to those asserted by Mr. Johnson likely will go unaddressed.

See Siding & Insulation Co. v. Beachwood Hair Clinic, Inc., 279 F.R.D. 442, 446 (N.D. Ohio

2012) (“Under the TCPA, each individual plaintiff is unlikely to recover more than a small amount

(the greater of actual monetary loss or $500). Individuals are therefore unlikely to bring suit against

Beachwood, which makes a class action the superior mechanism for adjudicating this dispute.”);

Abdeljalil, 306 F.R.D. at 312 (“This Court finds this case, in which ‘damages suffered by each

putative class member are not large,’ is appropriate for class certification.”).

       As Mr. Johnson explained at his deposition, a class action is the only way to effectuate

meaningful change in Navient’s business practices:

           Q. Aside from what you’ve already told me, what do you hope to
           accomplish in this case, if anything?

           A Number one, is to stop this practice of harassing people on the phone.
           That’s the number one. And I know that the only way that I’m probably
           going to be able to accomplish this is to cost this company a whole lot of
           money. They’re just going to keep doing it as long as nobody is going to
           say anything. As long as nobody says anything or does anything, Navient
           Solutions will continue breaking the law.

Ex. E at 35:21-25, 36:1-6.

       Additionally, there are unlikely to be serious difficulties in the management of this case as

a class action.12 Indeed, Navient already has in its possession each cellular telephone number—as


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       Even if manageability concerns did exist—they do not—failure to certify a class action
under Rule 23(b)(3) solely on manageability grounds is disfavored. See Mullins, 795 F.3d at 663-
64 (“[B]efore refusing to certify a class that meets the requirements of Rule 23(a), the district court
should consider the alternatives as Rule 23(b)(3) instructs rather than denying certification because


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well as the names it associates with each number—that it called using an ATDS during the class

period, including those that it called after it placed a wrong number designation in its records with

regard to that particular cellular telephone number. See Ex. A at 150:1-9, 151:23-25, 152:1-12.

Based on that information, the names and addresses of the individuals associated with those

cellular telephone numbers can be identified in a practical and efficient manner. See Declaration

of Anya Verkhovskaya, attached as Exhibit G.

       For these reasons, a class action is the superior method to adjudicate this controversy.

Birchmeier, 302 F.R.D. at 254 (rejecting argument that class was not manageable because it would

allegedly be either impossible, or costly and onerous, to obtain the identities of the subscribers for

the phone numbers of 930,000 proposed class members); accord Mullins, 795 F.3d 654, 665

(“When class members’ names and addresses are known or knowable with reasonable effort,

notice can be accomplished by first-class mail. When that is not possible, courts may use

alternative means such as notice through third parties, paid advertising, and/or posting in places

frequented by class members, all without offending due process.”).

IV.    Mr. Johnson’s proposed class is ascertainable.

       In the Seventh Circuit, there is no “heightened” ascertainability requirement. Mullins, 795

F.3d at 658 (“We decline to follow this path and will stick with our settled law. Nothing in Rule

23 mentions or implies this heightened requirement under Rule 23(b)(3), which has the effect of




it may be challenging to identify particular class members. District courts have considerable
experience with and flexibility in engineering solutions to difficult problems of case management.
In addition, a district judge has discretion to (and we think normally should) wait and see how
serious the problem may turn out to be after settlement or judgment, when much more may be
known about available records, response rates, and other relevant factors. And if a problem is truly
insoluble, the court may decertify the class at a later stage of the litigation. . . . Under this
comparative framework, refusing to certify on manageability grounds alone should be the last
resort.”).


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skewing the balance that district courts must strike when deciding whether to certify classes.”).13

That is, at the certification stage, a plaintiff need not prove there is a reliable and administratively

feasible way to identify all class members who fall within the class definition. Id. at 657-58; see

also Beley v. City of Chicago, No. 12 C 9714, 2015 WL 8153377, at *3 (N.D. Ill. Dec. 7, 2015)

(“Mullins teaches that the concerns underlying Defendant’s argument (that is, creating a reliable

and administratively feasible way to determine whether a particular person is a class member) may

be valid, but they should be addressed through tailored case management and not by denying class

certification at the outset.”).

        Rather, an ascertainable class is simply one where the class definition is based on objective

criteria. Mullins, 795 F.3d at 659 (explaining that the “implicit requirement of ascertainability” is

to be focused on “the adequacy of the class definition itself” and not “on whether, given an

adequate class definition, it would be difficult to identify particular members of the class.”). As a

result, to show that a class is ascertainable, a plaintiff must simply present a class definition that is

(1) precise, (2) defined by objective criteria, and (3) not defined in terms of success on the merits.

Johnson, 2016 WL 25711, at *2 (citing Mullins, 795 F.3d at 659-60 (7th Cir. 2015)); see also Ebin

v. Kangadis Food Inc., 297 F.R.D. 561, 567 (S.D.N.Y. 2014) (“The standard for ascertainability

is not demanding and is designed only to prevent the certification of a class whose membership is

truly indeterminable.”).

        Mr. Johnson’s proposed class meets each of these requirements. In particular, his class

definition precisely identifies a particular group of individuals in a particularized way (each person

and entity who Navient called using an ATDS on their cellular telephone after that person or entity



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        Just days ago, on February 29, 2016, the Supreme Court denied the petition for writ of
certiorari filed in connection with this matter. See Direct Digital, LLC v. Mullins, No. 15-549,
2016 WL 763259 (U.S. Feb. 29, 2016) (“The petition for writ of certiorari is denied.”).


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informed Navient that it was calling the wrong telephone number), during a specific period of time

(from May 4, 2011 through March 7, 2016), in a specific location (the United States). See Johnson,

2016 WL 25711, at *2 (finding ascertainability satisfied where the plaintiff defined the class by

reference to objective criteria); Suchanek v. Sturm Foods, Inc., No. 311 F.R.D. 239, 260 (S.D. Ill.

2015) (same); Belfiore v. Procter & Gamble Co., 311 F.R.D. 29, 66 (E.D.N.Y. 2015) (same).

       As well, Mr. Johnson’s class definition is not a proscribed fail-safe class because whether

a person is a member of his proposed class does not depend on whether the person has a valid

TCPA claim. Mullins, 795 F.3d at 660 (“The key to avoiding [the problem of a fail-safe class] is

to define the class so that membership does not depend on the liability of the defendant.”). As a

result, Mr. Johnson’s proposed class is ascertainable. See Abdeljalil, 306 F.R.D. at 309 (finding

proposed class of persons who allegedly received wrong number calls to be ascertainable).

                                           Conclusion

       Mr. Johnson respectfully requests that this Court grant his motion for class certification

and appointment of class counsel, approve him as the class representative, and appoint Greenwald

Davidson Radbil PLLC as class counsel.




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Date: March 7, 2016                         Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was electronically filed on March 7, 2016, via the

Court Clerk’s CM/ECF system, which will provide notice to all counsel of record.

                                                   /s/ Michael L. Greenwald
                                                   Michael L. Greenwald




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